Case 1:23-cv-02376-KAM-SJB Docum@fEZLZ Bled 11/03/23 Page 1 of 1 PagelD # 123

Maria Patelis, Esq.

November 3, 2023

Via CM/ECF

Honorable Sanket J. Bulsara

United States District Court

Eastern District of New York

225 Cadman Plaza East Chambers 304N
Courtroom 13C

Brooklyn, New York 11201

Re: Pollack v. Gordon et al.
23 Civ. 02376

Dear Honorable Bulsara :

Please be advised that I am representing the Defendants in the above-captioned and not
Mr. Salvatore Strazzullo. I am not privy to any information as to why Mr. Strazzullo did not
appear, but I will be appearing on this matter. Further, I do not have any information as to why he
did not respond to the Court’s Order to Show Cause dated September 1, 2023.

I spoke with Plaintiffs counsel and made a request as a courtesy to extend the dates on
the proposed scheduling order and it was denied. I am asking the Court for the scheduling order
to be extended since I appeared on this case October 4, 2023.

Thank you.

Very truly yo

SV,
yf /

Maria Patelis, Esq.

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